      Case 2:21-mc-00206-JWL-JPO Document 21 Filed 07/30/21 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS


CONSUMER FINANCIAL PROTECTION          )
BUREAU,                                )
                                       )
                      Petitioner,      )
                                       )
      v.                               )                Case No. 21-mc-206-JWL
                                       )
INTEGRITY ADVANCE, LLC and             )
JAMES R. CARNES,                       )
                                       )
                      Respondents.     )
                                       )
_______________________________________)


                           MEMORANDUM AND ORDER

       In this miscellaneous case, petitioner Consumer Financial Protection Bureau (“the

Bureau”) seeks an order and judgment enforcing its own Final Order of January 11, 2021,

that imposed obligations on respondents Integrity Advance, LLC (“Integrity”) and James

Carnes (“the Final Order”). The Court grants the petition.

        In the Final Order, the Bureau ordered respondents to pay restitution in the amount

of $38,453,341.62; Integrity to pay a civil penalty of $7,500,000; and Mr. Carnes to pay a

civil penalty of $5,000,000. Respondents were ordered to pay those amounts within 30

days, but the Final Order further provided that if respondents appealed the decision to the

Tenth Circuit, they could instead pay those amounts to an escrow account within 30 days.

The Final Order also required respondents to “cooperate in assisting the Bureau in
      Case 2:21-mc-00206-JWL-JPO Document 21 Filed 07/30/21 Page 2 of 4




determining the identity, location, and amount of restitution due to each consumer entitled

to redress.”

       It is undisputed that respondents have not paid the restitution or civil penalty

amounts either to the Bureau or to an escrow account as required by the Final Order. The

Bureau has thus filed a petition in this Court seeking enforcement of its Final Order. The

Court previously ordered respondents to show cause why the petition should not be

granted. Mr. Carnes filed a response brief, to which the Bureau replied. Integrity did not

respond to the show cause order, and no attorney has entered an appearance in this matter

on its behalf; thus Integrity does not oppose the relief sought by the Bureau. On July 27,

2021, the Court conducted a telephone hearing at which the Court heard argument on the

petition from counsel for the Bureau and counsel for Mr. Carnes, and the Court is now

prepared to rule.

       12 U.S.C. § 5563 authorizes the Bureau to conduct proceedings to enforce consumer

protection laws. See id. § 5563(a), (b). Any party to such a proceeding may appeal an

order issued by the Bureau to a federal court of appeals, which court shall have exclusive

jurisdiction to affirm, modify, terminate, or set aside (in whole or in part) the order. See

id. § 5563(b)(4). The commencement of such an appeal does not operate as a stay of the

Bureau’s order unless such a stay is specifically authorized by the appellate court. See id.

§ 5563(b)(5). Respondents appealed the Final Order to the Tenth Circuit pursuant to this

provision, and that appeal is presently being briefed by the parties; respondents did not

seek a stay of the Final Order from that court, however.



                                             2
      Case 2:21-mc-00206-JWL-JPO Document 21 Filed 07/30/21 Page 3 of 4




       Section 5563 further provides that the Bureau may apply to a federal district court

for enforcement of any effective and outstanding order, which court “shall have jurisdiction

and power to order and require compliance therewith.” See id. § 5563(d)(1). The statute

further provides: “Except as provided in this subsection, no court shall have jurisdiction

to affect by injunction or otherwise the issuance or enforcement of any notice or order or

to review, modify, suspend, terminate, or set aside any such notice or order [by the

Bureau].” See id. § 5563(d)(2). The Bureau seeks an order of enforcement from this Court

pursuant to Section 5563(d).

       In opposition to the petition, Mr. Carnes argues that the Bureau’s Final Order is not

valid and enforceable. He concedes that the statute allows only the Tenth Circuit to address

that argument and that he is not permitted to argue the merits to this Court. He therefore

requests instead that this Court, as gatekeeper, exercise its discretion to delay its resolution

of the petition so that the Tenth Circuit may have time to hear respondents’ appeal. As set

forth above, however, Section 5563 does not permit this Court to stay enforcement of or

suspend the Final Order, and Mr. Carnes’s request for a delay is tantamount to a request

for just such a stay or suspension.

       Respondents do not dispute that they were served with the Final Order (which they

then appealed to the Tenth Circuit) or that they have not complied fully with it. Section

5563 authorizes this Court only to enforce the Final Order, and the power to suspend the

Final Order or stay its enforcement rests only with the Tenth Circuit. Mr. Carnes has not

cited any authority indicating that this Court may or should refuse to grant a petition for

enforcement under this statute.

                                               3
     Case 2:21-mc-00206-JWL-JPO Document 21 Filed 07/30/21 Page 4 of 4




         Accordingly, the Court grants the petition for enforcement of the Final Order, and

respondents are hereby ordered to comply with the Final Order by paying the restitution

and civil penalties imposed and by cooperating as directed. Judgment will be entered in

favor of the Bureau to that effect, which judgment shall incorporate the Bureau’s Final

Order.



         IT IS THEREFORE ORDERED BY THE COURT THAT Consumer Financial

Protection Bureau’s petition seeking an order and judgment enforcing its own Final Order

of January 11, 2021, that imposed obligations on respondents Integrity Advance, LLC and

James Carnes is hereby granted; respondents are ordered to comply with the Final Order,

and judgment shall be entered accordingly.


         IT IS SO ORDERED.


         Dated this 30th day of July, 2021, in Kansas City, Kansas.


                                                  s/ John W. Lungstrum
                                                  John W. Lungstrum
                                                  United States District Judge




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